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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                             No. 21-cr-399 (RDM)
              Plaintiff,
  v.

  ROMAN STERLINGOV

              Defendant.




   Motion to Authorize Issuance and Pretrial Return of Subpoena Duces Tecum to
         Chainalysis, Inc. Under Federal Rule of Criminal Procedure 17(c)
       Defendant Roman Sterlingov (“Mr. Sterlingov”) moves this Court under Federal Rule of

Criminal Procedure 17(c) to authorize the issuance of the attached subpoenas duces tecum to

Chainalysis, Inc. (“Chainalysis”), commanding the production of the items listed on the

subpoenas on or before August 14, 2023, at 9:00 am., for the reasons set forth in the attached

memorandum in support of this motion.




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Dated: August 2, 2023
New York, New York


                                  Respectfully submitted,

                                  /s/ Tor Ekeland
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                                  /s/ Michael Hassard
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                                  Counsel for Defendant Roman Sterlingov




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 2nd day of August 2023, the forgoing document was filed with

the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                          s/ Tor Ekeland

U.S. Department of Justice
District of Columbia
555 Fourth St. N.W.
Washington, D.C. 20530

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